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                   EXHIBIT 2
    Case 4:22-cv-11009-FKB-DRG ECF No. 157-3, PageID.4952 Filed 06/20/25 Page 2 of 5




-----Original Message-----
From: Daniel D. Quick <DQuick@dickinson-wright.com>
Sent: Thursday, March 20, 2025 10:50 AM
To: James Allen <james.allen@sbdetroit.com>
Cc: Peter Doyle <Peter.Doyle@sbdetroit.com>
Subject: RE: Request for concurrence

Counsel:

It is unfortunate that you being sanctioned and continually
losing on your frivolous motions doesn't get the hint from the
judge. You clearly have no interest in actual facts. The post
that you attach references Clinton's bankruptcy filing, which
you have. It does not reference other types of documents that
may have been requested in discovery. I have verified this is
accurate. As to Dr. Exner, you are intentionally
misrepresenting the record. Any communications between
Mrs. Worrell and Dr. Exner circa 2018 and as part of her
academic paper were not documents provided to an "expert"
in this case as referenced in your document request.

Speaking of sanctions, please confirm whether you intend to
pay the sanction previously ordered by the court.

Also, I have attached invoices from the experts you deposed.
Please confirm you will make prompt payment.

-----Original Message-----
From: James Allen <james.allen@sbdetroit.com>
Sent: Wednesday, March 19, 2025 5:38 PM
To: Daniel D. Quick <DQuick@dickinson-wright.com>
Cc: Peter Doyle <Peter.Doyle@sbdetroit.com>
Subject: Request for concurrence


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The attached was passed to me. This comes from a Facebook
account that Judie Worrell controls and postdates the weather
event she references as destroying all of her documents.
Clearly, she references "cataloguing and unpacking MORE
boxes. . .". This does not square with your discovery
responses and the testimony of your client that requested
documents were destroyed in a weather event shortly after the
Worrell's moved to Whatcom County, Washington. Further,
Request for Production #2 requested "documents, data and/or
information provided to your experts in connection with" our
case and the prior NY action. Dr. Exner testified that she
relied upon information contained in correspondence
exchanged with Ms. Worrell. You stated their were "none".
Clearly, that's not true if Dr. Exner's testimony is to be
believed.
Recognizing that we are a week away from substantial motion
submissions, I write to ask whether you will voluntarily
provide the information and documents contained in the boxes
and "more boxes" referenced in the attached post and the
correspondence and things that were given to Dr. Exner from
Ms. Worrell that Dr. Exner referenced in her sworn testimony.
If not, please consider this a request for concurrence/meet and
confer in a motion to compel and for sanctions. Thank you
and have a nice evening.




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                                                 BOB KOHN
                                          PO BOX 581
                             SHELTER ISLAND, NEW YORK 11964-0581
                                  +1-408-602-5646           bobkohn@gmail.com

 March 6, 2025

 RE:       EXPERT WITNESS SERVICES for March 4, 2025
           Estate of Worrell v. Thang, Inc.


    Date              Activity                                Hours     Charge
           3/4/2025   Expert Witness Depo                      6.20    6,045.00

  Fees                                Sub-total ($975/hr)      6.20    6,045.00

  Expenses
                      None                                                0.00
                                         Total Expenses                  $0.00

                             Total Fees & Expenses this
                                                                      $6,045.00
                                                period

                      Due this period                                 $6,045.00
                      Due from previous period                            $0.00
                                             Total Due                $6,045.00
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ELLEN E. EXNER, PHD




INVOICE                 Attention: Daniel D. Quick
                        Dickinson Wright
                        2600 West Big Beaver
413-335-6994            Suite 300
ellen.exner@gmail.com   Troy, MI 48084-3312
                        Date: 3/10/25
531 Dickinson St.
Philadelphia PA         Project Title: Estate of George Bernard Worrell, Jr. vs. THANG, INC., George
19147                      Clinton, etc.
                        Project Description: Expert Witness Deposition
                        Invoice Number: 2025.03
                        Terms: Upon Receipt


                         Description                           Hours         Rate          Cost

                         Deposition (03/06/2025)                         5       $500.00        $2,500.00



                                                                             Subtotal           $2,500.00

                                                                             Total              $2,500.00



                        Thank you for the opportunity,

                        Ellen Exner




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